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                                IN UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

 Civil Action No.: 1:13-cv-00118


 Mark Zurbuchen,

            Plaintiff/Movant,

 Mortgage Investors Corporation; and DOES 1-
 10, inclusive,

            Defendants.


                                            COMPLAINT


         For this Complaint, the Plaintiff, Mark Zurbuchen, by undersigned counsel, states as

 follows:

                                           JURISDICTION

         1.       This action arises out of Defendants’ repeated violations of the Telephone

 Consumer Protection Act, 47 U.S.C. § 227, et seq.

         2.       This Court has original jurisdiction over Plaintiff’s TCPA claims. Mims v. Arrow

 Fin. Serv., LLC, 132 S.Ct. 740 (2012).

         3.       Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

         4.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

 Defendant transacts business in this District and a substantial portion of the acts giving rise to

 this action occurred in this District.

                                               PARTIES

         1.       Plaintiff, Mark Zurbuchen (“Plaintiff”), is an adult individual residing in

 Fountain, Colorado.
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        2.      Defendant Mortgage Investors Corporation (“MIC”), is a Florida business entity

 with an address of 6090 Central Avenue, St. Petersburg, Florida 33707-1622.

        3.      Does 1-10 (the “Agents”) are individual agents employed by MIC and whose

 identities are currently unknown to the Plaintiff. One or more of the Agents may be joined as

 parties once their identities are disclosed through discovery.

        4.      MIC at all times acted by and through one or more of the Agents.

                      ALLEGATIONS APPLICABLE TO ALL COUNTS

    A. Defendants’ Abusive Behavior


        5.      Beginning on or around June 2012, Defendants contacted Plaintiff on his home

 telephone using an automated telephone dialing system (“ATDS”) and/or by using artificial or

 pre-recorded messages, for the purpose of soliciting to him Defendants’ products and services.

        6.      During Defendants’ initial phone call and each call thereafter, Plaintiff would

 experience a delay to be connected with a live representative.

        7.      Once Plaintiff had a live representative of Defendants on the line, he requested

 that Defendants cease all calls to his number and take him off their call lists.

        8.      Thereafter, despite Plaintiff revoking his consent to such calls on approximately

 one dozen separate occasions, Defendants continued placing calls utilizing ATDS to Plaintiff’s

 home phone numerous times per week.


                                COUNT I
        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –

                                       47 U.S.C. § 227, et seq.

        9.      The Plaintiff incorporates by reference all of the above paragraphs of this

 Complaint as though fully stated herein.


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        10.     Without prior consent the Defendants made telephone calls to the Plaintiff’s

 residential telephone line using an artificial or prerecorded voice to deliver a message without the

 prior express consent of the Plaintiff in violation of 47 U.S.C. § 227(b)(1)(B).

        11.     The foregoing acts and omissions of the Defendants constitute numerous and

 multiple violations of the Telephone Consumer Protection Act, including every one of the above-

 cited provisions.

        12.     The Plaintiff is entitled to damages as a result of the Defendants’ violations.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that judgment be awarded in his favor and

 against the Defendants as follows:

                     1.   Statutory damages for each violation pursuant to 47 U.S.C. § 227(b)(3)(B)

                          & (C); and

                     2. Such other and further relief as may be just and proper.

                3. TRIAL BY JURY DEMANDED ON ALL COUNTS



 Dated: January 18, 2013

                                                       Respectfully submitted,

                                                       By __/s/ Lark Fogel______________

                                                       Lark Fogel, Esq.

                                                       Of Counsel To:

                                                       LEMBERG & ASSOCIATES L.L.C.
                                                       1100 Summer Street, 3rd Floor
                                                       Stamford, CT 06905
                                                       Telephone: (203) 653-2250
                                                       Facsimile: (203) 653-3424


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                                          Law Office of Lark Fogel
                                          Bar Number: 030383
                                          lfogel@lemberglaw.com
                                          Attorneys for Plaintiff

                                          Plaintiff:
                                          Mark Zurbuchen
                                          7846 Lantern Lane
                                          Fountain, Colorado 80817




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